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                                            July 16, 2021

VIA ECF
Hon. Sarah Netburn
United States Magistrate Judge
Southern District of New York
40 Foley Square
New York, NY 10007

Re:    SEC v. Ripple Labs Inc. et al., No. 20-cv-10832 (AT)(SN) (S.D.N.Y.)

Dear Judge Netburn:

      We write jointly on behalf of Plaintiff Securities and Exchange Commission, and
Defendants Ripple Labs, Inc., Bradley Garlinghouse, and Christian A. Larsen.

       At your direction, the parties met and conferred this morning on the privilege issues that
arose during yesterday’s hearing on the motion to quash the deposition of William Hinman.
Based on this morning’s discussions, we have agreed to adjourn the July 19, 2021 deposition of
Mr. Hinman, and have rescheduled the deposition for July 27, 2021.

         The parties have made substantial progress in narrowing and resolving the privilege
issues, and plan to have additional meet and confer discussions in the next few days to further
narrow and resolve the issues relating to Mr. Hinman’s deposition, without waiver of any party’s
rights, including any rights under Fed. R. Civ. P. 72(b)(2).

       With the Court’s permission, we propose to notify the Court by 5:00 p.m. on Monday,
July 19, 2021 as to the status of our discussions and, if further judicial intervention is necessary,
to propose a briefing schedule to resolve any outstanding issues.
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Respectfully submitted,

/s/ Jorge G. Tenreiro
Jorge G. Tenreiro

U.S. Securities and Exchange Commission
New York Regional Office
200 Vesey Street, Suite 400
New York, NY 10281

Counsel for Plaintiff Securities and Exchange Commission

/s/ Michael K. Kellogg
Michael K. Kellogg

KELLOGG, HANSEN, TODD, FIGEL,
& FREDERICK, P.L.L.C.
Sumner Square
1615 M Street, NW, Suite 400
Washington, DC 20036
+1 (202) 326-7900

DEBEVOISE & PLIMPTON LLP
919 Third Avenue
New York, NY 10022
+1 (212) 909-6000

Counsel for Defendant Ripple Labs Inc.

CLEARY GOTTLIEB STEEN & HAMILTON
2112 Pennsylvania Avenue NW
Washington, DC 20037
+1 (202) 974-1680

Counsel for Defendant Bradley Garlinghouse

PAUL, WEISS, RIFKIND, WHARTON & GARRISON LLP
1285 Avenue of the Americas
New York, NY 10019
+1 (212) 373-3000

Counsel for Defendant Christian A. Larsen
